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                     15
                                                             UNITED STATES DISTRICT COURT
                     16
                                                                    DISTRICT OF NEVADA
                     17

                     18
                        SECURITIES AND EXCHANGE                              Case No. 2:22-cv-00612-CDS-EJY
                     19 COMMISSION,
                                                                             [HEARING REQUESTED]
                     20                        Plaintiff,

                                       vs.                                   PETITION OF RECEIVER, GEOFF
                     21                                                      WINKLER, FOR ORDER AUTHORIZING
                                                                             AND APPROVING GENERAL
                     22 MATTHEW WADE BEASLEY, et al.,
                                                                             PROCEDURES FOR SALE OF PERSONAL
                     23                        Defendants,                   PROPERTY OUT OF RECEIVERSHIP;
                                                                             MEMORANDUM OF POINTS AND
                     24 THE JUDD IRREVOCABLE TRUST, et al.,                  AUTHORITIES IN SUPPORT THEREOF
                     25                        Relief Defendants.
                                                                             [Declaration of Receiver, Geoff Winkler and
                     26                                                      [Proposed] Order submitted concurrently
                                                                             herewith]
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                      1                In accordance with Local Rule 66-5 and this Court's June 3, 2022 Order Appointing Receiver

                      2 (the "Appointment Order") [ECF No. 88], Geoff Winkler (the "Receiver"), the Court-appointed

                      3 receiver for J&J Consulting Services, Inc., an Alaska corporation; J&J Consulting Services, Inc., a

                      4 Nevada corporation; J and J Purchasing LLC; The Judd Irrevocable Trust; and BJ Holdings LLC,

                      5 and over the Wells Fargo Interest on Lawyers' Trust Account ending in 5598 and held in the name

                      6 of Beasley Law Group PC, along with the personal assets of Matthew Wade Beasley; Jeffrey J.

                      7 Judd; Christopher R. Humphries; Shane M. Jager; Jason M. Jongeward; Denny Seybert; and Roland

                      8 Tanner (all, collectively, the "Receivership Defendants") hereby petitions this Court for an order

                      9 approving the general sales procedures proposed here in connection with the Receiver's

                     10 contemplated sale of certain personal property assets, including luxury and other vehicles, stocks

                     11 and other equity investments, cryptocurrency, and miscellaneous items of personal property, along

                     12 with a 2008 Hawker 900XP private aircraft (the "Aircraft"). The personal property and the Aircraft

                     13 proposed to be sold by the Receiver were obtained by or will be turned over to the Receiver in

                     14 accordance with the Appointment Order, and are subject to the Receiver's exclusive authority and

                     15 control, as detailed further in the following Memorandum of Points and Authorities and concurrently

                     16 filed Declaration of Geoff Winkler.

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                      1                This petition is based on this Court's Appointment Order, which authorizes the Receiver to

                      2 assume exclusive authority and control over, and sell, the assets of the Receivership Defendants, as

                      3 well as the attached Memorandum of Points and Authorities, the concurrently filed Declaration of

                      4 Geoff Winkler, and the documents and pleadings already on file in this action, and upon such further

                      5 oral and documentary evidence as may be presented at any hearing on the Receiver's petition.

                      6                DATED this 5th day of July, 2022.

                      7                                                    SEMENZA KIRCHER RICKARD

                      8
                                                                           /s/ Jarrod L. Rickard
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                      1                             MEMORANDUM OF POINTS AND AUTHORITIES

                      2 I.             INTRODUCTION.

                      3                By this petition, and in accordance with Section VIII of the Appointment Order, the Receiver

                      4 requests that he be authorized to sell certain personal property of the Receivership Defendants,

                      5 described further below, in accordance with the procedures set forth herein. As discussed in greater

                      6 detail, below, the Receiver believes it is necessary and appropriate to commence the marketing and

                      7 sale of certain personal property assets at this time, in order to raise funds for the benefit of the

                      8 receivership estate (the "Estate") and its creditors.

                      9                Based on the information presently available to the Receiver, and given the nature and

                     10 apparent value of the personal property assets already obtained by or turned over to the Receiver –

                     11 along with those assets still to be recovered – the Receiver believes that the sales of these assets

                     12 could generate significant recoveries for the benefit of the Estate and its creditors. Accordingly, the

                     13 Receiver respectfully request that this Court enter an order authorizing him to market and sell these

                     14 assets, along with the Aircraft, in accordance with the procedures described herein.

                     15 II.            STATEMENT OF RELEVANT FACTS.

                     16                A.      The Receiver's Appointment And Authority And Control Over Receivership
                                               Assets.
                     17
                                       The above-entitled action was commenced by the United States Securities and Exchange
                     18
                            Commission (the "Commission") on April 12, 2022. (See ECF No. 1.) On May 3, 2022, the
                     19
                            Commission petitioned this Court for the appointment of a receiver, based upon its allegations that
                     20
                            Defendant Matthew Wade Beasley, Jeffrey J. Judd, and others had engaged in a fraudulent securities
                     21
                            sales scheme bearing the hallmarks of a Ponzi investment scheme. (See, e.g., ECF No. 67.)
                     22
                                       The Court entered its Appointment Order on June 3, 2022, vesting the Receiver with
                     23
                            exclusive authority and control over all Defendants J&J Consulting Services, Inc., J&J Consulting
                     24
                            Services, Inc., J and J Purchasing LLC, The Judd Irrevocable Trust, and BJ Holdings LLC, and over
                     25
                            the assets of Defendants Matthew Wade Beasley, Jeffrey J. Judd, Christopher R. Humphries, Shane
                     26
                            M. Jager, Jason M. Jongeward, Denny Seybert, and Roland Tanner. (See ECF No. 88.) Among
                     27
                            other things, the Appointment Order: (1) vested the Receiver with control over the assets of the
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                      1 Receivership Defendants (collectively, "Receivership Assets"); (2) directed all parties in possession

                      2 of Receivership Assets to transfer such assets to the Receiver; and (3) authorized the Receiver,

                      3 "[u]nder appropriate order of the Court," to "take all necessary and reasonable actions to cause the

                      4 sale … of all real or personal property in the … Estate … on terms and in the manner the Receiver

                      5 deems most beneficial to the … Estate[.]" (Id. at ¶¶ 15-17, 38.)

                      6                The Receiver has been steadfastly pursuing his duties and obligations under the Appointment

                      7 Order since his appointment, including with respect to securing the turnover of Receivership Assets,

                      8 including certain personal property of the Receivership Defendants.              (See concurrently filed

                      9 Declaration of Geoff Winkler ["Winkler Decl."] ¶ 2.) Since the entry of the Appointment Order,

                     10 the Receiver has obtained or secured the turnover (or commitment to turn over) of the following

                     11 personal property assets, not including the Aircraft:

                     12                        Item / Object              Last 4 Digits of        Estimated Market Value
                     13                                                      Serial/ID
                                                                           Number/VIN
                     14
                                 2022 Rolls Royce Cullinan SUV                  9734                 $575,000 - 650,000
                     15
                                 2021 Chevrolet Tahoe                           0007                  $60,000 - 70,000
                     16
                                 2021 Jeep Wrangler                             4836                  $39,000 - 43,000
                     17
                                 2020 Spartan Dutch Star K2                     8506                 $640,000 - 750,000
                     18
                                 (luxury motor home)
                     19
                                 2020 Chevrolet Silverado                       1321                  $40,0000 - 45,000
                     20
                                 2019 Cadillac Escalade                         8903                  $85,000 - 100,000
                     21
                                 Coinbase Cryptocurrency                        N/A                 Variable (estimated at
                     22
                                 Accounts                                                           between $500,000 and
                     23
                                                                                                         $1 million)
                     24

                     25                (Winker Decl. ¶ 3.)

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                      1                Pursuant to the terms of the Appointment Order, the Receiver also assumed authority and

                      2 control over the Aircraft, which is titled in the name of Receivership Defendant BJ Holdings, LLC

                      3 and presently stored at Harry Reid International Airport, in Las Vegas, Nevada. (Winkler Decl.

                      4 ¶ 4.)

                      5                The Aircraft's relevant information is as follows:

                      6                        Item / Object              ID Number            Estimated Market Value
                      7                     2008 Hawker 900XP              N900XG                     $5,500,000
                      8
                                       The Receiver has performed an initial inspection of the Aircraft, and conferred with Cirrus
                      9
                            Aviation, the entity presently charged with operating the Aircraft, to confirm that the Aircraft is
                     10
                            presently being leased out for private charters. (Id.) In addition, the Receiver has obtained an April
                     11
                            2022 Certified Aircraft Appraisal (the "Appraisal") conducted by Bloom Business Jets Inc., an
                     12
                            experienced, Colorado-based aircraft acquisitions, marketing, and appraisal company. (Id.) Based
                     13
                            on the Appraisal, the Receiver believes the value of the Aircraft, in its present condition, to be
                     14
                            approximately $5.5 million. (Id., Ex. A.)
                     15
                                       B.       The Receiver's Contemplated Sales.
                     16
                                       These personal property assets, along with the Aircraft and any personal property recovered
                     17
                            by or turned over to the Receiver after the filing of this petition, in accordance and in compliance
                     18
                            with the Appointment Order (collectively, the "Personal Property Assets") constitute Receivership
                     19
                            Assets under the terms of the Appointment Order. The Receiver has determined, in his reasonable
                     20
                            business judgment, that it is appropriate to market and sell the Personal Property Assets for the
                     21
                            benefit of the Estate and its creditors. (Winkler Decl. ¶ 5.) The Receiver is confident that, because
                     22
                            the markets for the Personal Property Assets are generally well-established, and market values
                     23
                            verifiable, direct-to-purchaser, arms-length sales, or auctions, where appropriate, are likely to yield
                     24
                            market-appropriate prices for each of the Personal Property Assets to be sold. (Id.) In the Receiver's
                     25
                            business judgment, however, it would be impracticable – and costly – to seek Court approval each
                     26
                            time he proposes to sell one of the Personal Property Assets. (Id.)
                     27

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                      1                Notably, time is of the essence with respect to many of the Receiver's contemplated sales of

                      2 Personal Property Assets. A number of these assets – including but not limited to the Aircraft and

                      3 exotic or high-end automobiles, including the 2022 Rolls Royce SUV – are expensive to store,

                      4 maintain, and insure. (Winkler Decl. ¶ 6.) Moreover, their long-term storage increases the risk of

                      5 loss to the receivership, whether by depreciation, damage, or theft. (Id.) In addition, market

                      6 conditions for some of these assets may deteriorate as interest rates rise and consumer confidence

                      7 and spending weaken. (Id.) Accordingly, the Receiver believes, in his reasonable business

                      8 judgment, that sales should commence as soon as practicable. (Id.)

                      9                The Receiver proposes to undertake the marketing and sale of the Personal Property Assets

                     10 and the Aircraft in accordance with the procedures proposed below.

                     11 III.           PROPOSED SALES PROCEDURES.

                     12                As noted above, the Personal Property Assets vary in nature and value, ranging from unique

                     13 and high-value luxury and exotic automobiles to more commonplace mid-market automobiles to

                     14 stock and other equity investments, to say nothing of the Aircraft. (Winkler Decl. ¶¶ 3, 4.) While,

                     15 in the Receiver's experience, there are well-established markets for all of the Personal Property

                     16 Assets, the Receiver may need to market and sell different assets in different ways in order to realize

                     17 the highest and best prices. (Id. at ¶ 7.) For instance, the sale of the Aircraft, the Rolls Royce SUV,

                     18 or another highly valuable Personal Property Asset may result in a higher recovery for the Estate if

                     19 marketed, in a targeted manner, to the unique subset of buyers with the interest and means to

                     20 purchase such items, as opposed to being sold at auction with other, less valuable items of an entirely

                     21 different nature. Likewise, investments not traded in traditional markets, and for which investment-

                     22 specific knowledge and due diligence would be required, would be unlikely to yield an appropriate

                     23 price at auction. Indeed, cryptocurrency trades only in specialized markets; an auction would not

                     24 be appropriate for liquidating cryptocurrency assets. Accordingly, some flexibility in the manner

                     25 and timing by which the Personal Property Assets are sold is appropriate. The Receiver therefore

                     26 proposes to undertake the following procedures in connection with his anticipated sales of the

                     27 Personal Property Assets, as he deems appropriate, on an asset-by-asset basis:

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                      1                A.        Governing Principles.

                      2                With respect to each Personal Property Asset (or category of asset, for substantially similar

                      3 items) that the Receiver determines should be sold, with the exception of the Aircraft (discussed

                      4 below), the Receiver and his staff will conduct a review of the forums available for the marketing

                      5 and sale of that asset, determine which forum is likely to yield the highest and best price for the

                      6 Estate, and thereafter developing a marketing and sale plan for that asset (or category of asset).

                      7 Generally speaking, Personal Property Assets are likely to be sold via: (1) direct sales to purchasers,

                      8 after arms-length negotiations; (2) public auction; (3) traditional exchanges or trading desks (for

                      9 publicly traded investments for which an established, public market exists). However, given the

                     10 potentially unusual nature of some of the Personal Property Assets (e.g., where an asset is unique

                     11 and consequently difficult to market or value, an asset is not publicly traded [e.g. private stock or

                     12 similar equity holdings]; or otherwise), the Receiver may be required to employ alternative means

                     13 of marketing and selling such assets, in accordance with his reasonable business judgment.

                     14                B.        Direct-To-Buyer And One-Off Sales.

                     15                Certain Personal Property Assets, including but not limited to exotic or specialty vehicles,

                     16 valuable artwork, and high-end jewelry, watches, and other personalty may be most appropriate for

                     17 direct-to-buyer sales, where the assets are marketed to the unique class of prospective purchasers

                     18 with the means to complete a purchase. For these assets, the Receiver would, in consultation with

                     19 his professionals, identify appropriate forums through which to market the assets, engage in arms-

                     20 length negotiations with prospective buyers, and complete a sale to those buyers who make what he

                     21 determines, in his reasonable business judgment, to be the highest and best offer for the asset(s).

                     22                Likewise, for Personal Property assets, critically including cryptocurrency, that trade on

                     23 restricted or exclusive platforms, the Receiver anticipates completing sales of those assets via those

                     24 platforms.             With respect to cryptocurrency assets specifically, the Receiver will monitor the

                     25 fluctuating value of the accounts in issue and execute a sale (liquidation) when he determines, in his

                     26 reasonable business judgment, that a sale is appropriate given market conditions and the

                     27 cryptocurrency's volatility.

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                      1                C.      Public Auctions.

                      2                Many of the Personal Property Assets are of the type which the Receiver believes can be

                      3 sold successfully at public auction, including, but not limited to, non-exotic or specialty vehicles.

                      4 To that end, the Receiver anticipates engaging the services of an experienced auctioneer to undertake

                      5 the marketing and sale of most of the Personal Property Assets, via a single or periodic public

                      6 auctions, to be conducted online or in-person, as he deems appropriate for the assets to be sold.

                      7                To that end, the Receiver proposes to solicited and reviewed multiple proposals from

                      8 qualified auctioneers, and thereafter select and engage the services of that auctioneer (the

                      9 "Auctioneer") whose experience and engagement terms he determines to be of greatest benefit to

                     10 the Estate. Upon the engagement of his Auctioneer, the Receiver will determine, in consultation

                     11 with the Auctioneer, what sort of auction (on-line, as opposed to in-person; pre-registration

                     12 required/not required; etc.) is most appropriate for the Personal Property Assets to be sold, and most

                     13 likely to yield the best and highest results for the Estate. Thereafter, the Receiver, via the

                     14 Auctioneer, will publicize and undertake one or more auctions, on a schedule and on such terms as

                     15 the Receiver determines appropriate for the marketing and sale of all assets to be sold at auction, in

                     16 order to sell Personal Property Assets.

                     17                D.      Proposed Sale Of The Aircraft.

                     18                Among the Personal Property Assets, the Aircraft is unique. First, among the Personal

                     19 Property Assets identified by the Receiver as of the date of this petition, the Aircraft is by far the

                     20 most valuable. (Winkler Decl. ¶ 8.) Moreover, it comes with the highest level of risk – from a value

                     21 standpoint – to the receivership; the Aircraft requires expensive service, storage, and insurance, and

                     22 damage to or loss of the Aircraft would represent a significant loss of value to the Estate. (Id.)

                     23 Accordingly, and in order to best protect against the possibility of loss, and to realize the value of

                     24 the Aircraft as soon as possible for the benefit of the Estate and its creditors, the Receiver

                     25 recommends selling the Aircraft, via an arms-length transaction, to an open-market buyer. (Id.)

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                      1                As noted above, the Receiver has obtained the Appraisal, which estimates the Aircraft's

                      2 value at approximately $5.5 million.1 (Winkler Decl. ¶ 4, Ex. A.) The Receiver has already

                      3 received one bona-fide, unsolicited offer to purchase the Aircraft at that price. (Id. at ¶ 8.) The

                      4 Receiver is therefore confident that, in the near term, he can negotiate and consummate the sale of

                      5 the Aircraft at a price entirely consistent with its market value, for the benefit of the Estate and its

                      6 creditors.             (Id.)   Accordingly, the Receiver requests that the Court authorize him to pursue

                      7 discussions with any interested parties, enter into a purchase and sale agreement for the Aircraft

                      8 with that buyer whom the Receiver determines, in his reasonable business judgment, has made the

                      9 highest and best – or otherwise most appropriate – offer to purchase the Aircraft, and thereafter

                     10 complete the sale of the Aircraft to that buyer, without further order of the Court. (Id.)

                     11                E.         Subsequent Requests And Reports To The Court.

                     12                In order to ensure that the Court and all interested parties remain apprised of the Receiver's

                     13 progress in selling the Personal Property Assets, and in accordance with Paragraph 56 of the

                     14 Appointment Order, the Receiver will include in his interim reporting a summary of his marketing

                     15 and sale efforts for all Personal Property Assets at issue in a given reporting period, as well as those

                     16 Personal Property Asset sales consummated during the applicable reporting period.

                     17 IV.            ARGUMENT.

                     18                A.         The Court Has The Authority To Approve The Receiver's Proposed Sales
                                                  Procedures And To Authorize The Sales Of The Personal Property Assets In
                     19                           Accordance Therewith.
                     20
                                       A court sitting in equity, and having authority over a receivership res, is vested with wide
                     21
                            discretion to order the sale of property out of receivership. See, e.g., SEC v. Elliott, 953 F.2d 1560,
                     22
                            1566 (11th Cir. 1992) (describing the Court's broad powers and wide discretion to determine relief
                     23
                            in an equity receivership). "The power of sale necessarily follows the power to take possession and
                     24
                            control of and to preserve property." SEC v. Am. Capital Invs., Inc., 98 F.3d 1133, 1144 (9th Cir.
                     25

                     26
                                 1
                                       Based on his review of presently available materials, the Receiver believes there are secured
                     27
                                       liens against the Aircraft totaling approximately $2 million, meaning a sale at a market-
                     28                appropriate price of approximately $5.5 million would yield net proceeds of roughly
                                       $3.5 million, after the payment of the debt secured by the Aircraft.
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                      1 1996) (abrogated on other grounds by Steel Co. v. Citizens for a Better Env't, 523 U.S. 83 (1998))

                      2 (citing 2 Ralph Ewing Clark, Treatise on Law & Practice of Receivers § 482 (3d ed. 1992) (citing

                      3 First Nat'l Bank v. Shedd, 121 U.S. 74, 87 (1887)). "When a court of equity orders property in its

                      4 custody to be sold, the court itself as vendor confirms the title in the purchaser." 2 Ralph Ewing

                      5 Clark, Treatise on Law and Practice of Receivers § 487.

                      6                Generally, when a court-appointed receiver is involved, the receiver, as agent for the

                      7 appointing court, may conduct the sale of the receivership property. Blakely Airport Joint Venture

                      8 II v. Fed. Sav. and Loan Ins. Corp., 678 F. Supp. 154, 156 (N.D. Tex. 1988). A receiver's sale

                      9 conveys "good" equitable title, enforced by an injunction against the owner and against parties to

                     10 the suit. See 2 Ralph Ewing Clark, Treatise on Law and Practice of Receivers §§ 342, 344, 482(a),

                     11 487, 489, 491 (3d ed. 1992).

                     12                "In authorizing the sale of property by receivers, courts of equity are vested with broad

                     13 discretion as to price and terms." Gockstetter v. Williams, 9 F.2d 354, 357 (9th Cir. 1925).

                     14 Moreover, in the fiduciary context, courts are deferential to the business judgment of bankruptcy

                     15 trustees, receivers, and similar estate custodians. See, e.g., Bennett v. Williams, 892 F.2d 822, 824

                     16 (9th Cir. 1989) ("[W]e are deferential to the business management decisions of a bankruptcy

                     17 trustee."); Sw. Media, Inc. v. Rau, 708 F.2d 419, 425 (9th Cir. 1983) ("The decision concerning the

                     18 form of … [estate administration] … rested within the business judgment of the trustee."); In re

                     19 Thinking Machs. Corp., 182 B.R. 365, 368 (D. Mass. 1995) ("The application of the business

                     20 judgment rule … and the high degree of deference usually afforded purely economic decisions of

                     21 trustees, makes court refusal unlikely.") (rev'd on other grounds, In re Thinking Machs. Corp., 67

                     22 F.3d 1021 (1st Cir. 1995)).

                     23                The Receiver's proposed sales procedures for the Personal Property Assets, including the

                     24 Aircraft, are consistent with the aims of the receivership, and well within the Court's discretion to

                     25 approve.               Accordingly, the Receiver respectfully requests that the Court approve the sales

                     26 procedures and authorize the Receiver to undertake the sales of the Personal Property Assets in

                     27 connection therewith.

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                      1                B.      Appraisals And Public Sales Are Unnecessary Here.

                      2                28 U.S.C. § 2004 provides that "[a]ny personalty sold under any order or decree of any court

                      3 of the United States shall be sold in accordance with section 2001 of this title, unless the court

                      4 orders otherwise." (emphasis added.) 28 U.S.C. § 2001, in turn, which requires a seller to satisfy

                      5 certain appraisal and public sale requirements, is applicable only to real property, not personal

                      6 property.

                      7                Even were 28 U.S.C. § 2001 somehow to apply to the Personal Property Assets, this Court

                      8 would be empowered to modify the terms of sale because "[t]he statute on its face vests the court

                      9 with discretion in directing the terms and conditions of the public sale." Keybank Nat'l Ass'n v.

                     10 Perkins Rowe Assocs., LLC, 2012 U.S. Dist. LEXIS 157828, *4 (M.D. La. Nov. 2, 2012); see also

                     11 U.S. v. Little, 2008 U.S. Dist. LEXIS 93467, *4-5 (E.D. Cal. June 30, 2008) (finding that "[t]he

                     12 Court has broad discretion in setting the terms and conditions of a sale under 28 U.S.C. § 2001.");

                     13 U.S. v. Heasley, 283 F.2d 422 (8th Cir. 1960) (finding that in the context of 28 U.S.C. § 2001(b),

                     14 "the matter of confirming a judicial sale rests in the sound judicial discretion of the trial court ….").

                     15                Here, the nature of the Personal Property Assets is such that the markets for them are well-

                     16 established and routinized, meaning that arms-length sales negotiated in the open market, or public

                     17 actions, where appropriate, are likely to yield market-appropriate prices. This is true even in unique

                     18 cases like the Aircraft, where the Receiver has already received one offer to purchase the Aircraft

                     19 at 100% of its appraised value. Moreover, as noted above, the Receiver's proposed sales procedures

                     20 are intended to ensure that the sale of each of the Personal Property Assets occurs in the context of

                     21 an appropriate forum, best suited to the nature of each of the assets, and most likely to result in

                     22 offers from qualified buyers genuinely consistent with the asset being sold. Accordingly, the

                     23 Receiver respectfully submits that the additional sales requirements established in 28 U.S.C. § 2001

                     24 – which, again, need apply only in the context of real property sales, and even then are subject to

                     25 modification – are unnecessary here.

                     26 V.             CONCLUSION.

                     27                For the foregoing reasons, the Receiver respectfully requests that this Court enter an order:

                     28 authorizing and approving the general sales procedures proposed here in connection with the
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Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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                      1 Receiver's contemplated sale of certain personal property assets, including luxury and other

                      2 vehicles, stocks and other equity investments, cryptocurrency, and miscellaneous items of personal

                      3 property, and the Aircraft.

                      4                DATED this 5th day of July, 2022.

                      5                                                    SEMENZA KIRCHER RICKARD

                      6
                                                                           /s/ Jarrod L. Rickard
                      7                                                    Jarrod L. Rickard, Esq., Bar No. 10203
                                                                           Katie L. Cannata, Esq., Bar No. 14848
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                      9                                                    Las Vegas, Nevada 89145

                     10                                                    ALLEN MATKINS LECK GAMBLE
                                                                            MALLORY & NATSIS LLP
                     11                                                    DAVID R. ZARO (admitted pro hac vice)
                                                                           JOSHUA A. DEL CASTILLO(admitted pro hac vice)
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                     13                                                    865 South Figueroa Street, Suite 2800
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                                                                           Proposed Attorneys for Receiver Geoff Winkler
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                      1                                  CERTIFICATE OF SERVICE

                      2        I am employed by the law firm of Semenza Kircher Rickard. in Clark County. I am over
                        the age of 18 and not a party to this action. The business address is 10161 Park Run Drive, Suite
                      3
                        150, Las Vegas, Nevada 89145.
                      4
                               On the 5th day of July 2022, I served the document(s), described as:
                      5
                          PETITION OF RECEIVER, GEOFF WINKLER, FOR ORDER AUTHORIZING AND
                      6 APPROVING GENERAL PROCEDURES FOR SALE OF PERSONAL PROPERTY OUT
                              OF RECEIVERSHIP; MEMORANDUM OF POINTS AND AUTHORITIES IN
                      7
                                                              SUPPORT THEREOF
                      8
                               by serving the    original      a true copy of the above and foregoing via:
                      9
                            a. CM/ECF System to the following registered e-mail addresses:
                     10

                     11 Casey R. Fronk, FronkC@sec.gov, #slro-docket@sec.gov

                     12 Charles La Bella, charles.labella@usdoj.gov, maria.nunez-simental@usdoj.gov

                     13 Daniel D. Hill, ddh@scmlaw.com

                     14 Garrett T Ogata, court@gtogata.com

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                     14 Trevor Waite, twaite@fabianvancott.com, amontoya@fabianvancott.com

                     15
                                  b. BY U.S. MAIL. I deposited such envelope in the mail at Las Vegas, Nevada. The
                     16              envelope(s) were mailed with postage thereon fully prepaid. I am readily familiar with
                                     Semenza Kircher Rickard’s practice of collection and processing correspondence for
                     17              mailing. Under that practice, documents are deposited with the U.S. Postal Service on the
                                     same day which is stated in the proof of service, with postage fully prepaid at Las Vegas,
                     18              Nevada in the ordinary course of business. I am aware that on motion of party served,
                     19              service is presumed invalid if the postal cancellation date or postage meter date is more than
                                     one day after the date stated in this proof of service.
                     20
                                  c. BY PERSONAL SERVICE.
                     21
                                  d. BY DIRECT EMAIL.
                     22

                     23           e. BY FACSIMILE TRANSMISSION.

                     24                I declare under penalty of perjury that the foregoing is true and correct.

                     25
                                                                              /s/ Olivia A. Kelly
                     26
                                                                              An Employee of Semenza Kircher Rickard
                     27

                     28
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